      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 1 of 69 Page ID #:4
                                                                          LODGED
                                                                   CLERK, U.S. DISTRICT COURT


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2
     Kent T. Hutke Fields
     Principal Chief of the Natchez Tribe                          1/18/22
     P.O. BOX 484,                                              CENTRAL DISTRICT OF CALIFORNIA
3    Gore (at Notchietown), OK 74435                                          KMH
                                                                 BY: ____________BB______ DEPUTY
     (918)-489-5244
4    natcheznation@ymail.com
5                               UNITED STATES DISTRICT COURT
6                                                                                                    12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                                     &9
7
     THE NATCHEZ NATION, A BAND OF THE               Case No.: FY8$
8

9    FEDERALLY RECOGNIZED MUSCOGEE
                                                     MOTION FOR PRELIMINARY
10   (CREEK) NATION,                                 INJUNCTION; POINTS AND
11                                                   AUTHORITIES;
                              PLANTIFFS,
12
                         v.
13
     DEPARTMENT OF CHILDREN AND
14   FAMILY SERVICES, STEFF PADILLA, IN
     HER OFFICIAL CAPACITY AS PRESIDING DATE:
15
     COMMISSIONER, DEPUTY COUNTY        TIME:
16   COUNSEL, JOSEPH ROBERT ESCOBOSA, COURTROOM:
     IN HIS OFFICAL CAPACITY AS
17   ATTORNEY, CHILDREN’S LAW CENTER,
     HEATHER ANN STARMAN, IN HER
18
     OFFICIAL CAPACITY AS ATTORNEY,
19   CHILDREN’S LAW CENTER, YVONNE
     MASSAIS-JOBY, IN HER OFFICIAL
20   CAPACITY AS ATTORNEY
21                            DEFENDANTS
22

23
            This Motion is made pursuant to Federal Rule of Civil Procedure 65 and Local Rule 65-1
24
     and is based on the accompanying Memorandum of Points and Authorities. The Petition
25
     challenges the request to allow the Lanam minors unsupervised visits, by Deputy County
26

27

28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             1
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 2 of 69 Page ID #:5



1    Counsel, Joseph Robert Escobosa and the minors Counsels, Heather Ann Starman (Attorney for
2
     S.L.) and Ashley Hylton (attorney for R.L.), approved by Commissioner Steff Padilla.
3

4
                            MEMORANDUM OF POINTS AND AUTHORITIES
5

6       I.      INTRODUCTION

7            Plaintiff moves this Court for entry of a Preliminary Injunction preventing the Defendants
8
     from continuing unmonitored visits between minors R.L. and S.L., with the abuser/adoptive
9
     mother Margaret Rose Lanam. The Natchez Nation, a band of the Muscogee (Creek) Nation (See
10
     Exhibit 1: Affidavit of Muscogee National Council), a Tribe which holds multiple treaties with
11

12   the United States of America, through its counsel, bring this action against the Defendants

13   Department of Children and Family Services, Steff Padilla, in her official capacity as
14
     Commissioner, Joseph Robert Escobosa, in his official capacity as Attorney (Deputy County
15
     Counsel for DCFS), Heather Ann Starman (attorney for S.L.) and Yvone Massais-Joby (attorney
16
     for R.L.) in their official capacities as Attorney’s (appointed by the Children’s Law Center).
17

18           This Motion is made on the following grounds:

19           1. The State of California violated notice requirements of the Indian Child Welfare Act
20
                by failing to send notice to the Tribe of Child Custody Proceedings for an Indian
21
                Child (ICWA-030), termination of parental rights, placement hearings, and adoption
22
                by registered mail with return receipt requested between 2012 and 2014.
23

24           2. The great grandmother, Susan Elizabeth Turner Williams is an enrolled member of

25              the Natchez Nation and of Cherokee descent. The Juvenile Court and DCFS failed to
26
                Notice the maternal family of Child Custody Proceedings for an Indian Child (ICWA-
27

28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             2
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 3 of 69 Page ID #:6



1             030), termination of parental rights, placement hearings, and adoption between 2012
2
              and 2014.
3
           3. The Tribe will suffer irreparable injury in the absence of a preliminary injunction
4
              because Defendants have undermined and infringed upon the sovereign rights of the
5

6             Tribe to intervene on behalf of their eligible Indian children, violated the federal laws

7             of ICWA, continue to hold hearings without notice being sent to the Tribe and
8
              continue in the dangerous practice of allowing unmonitored visits between the Native
9
              American minors and adoptive mother; despite the tantamount evidence detailing the
10
              dangers to the safety and wellbeing of the eligible Indian minors mentally,
11

12            emotionally and physically. Defendants show no signs of ceasing these practices,

13            which is of immediate concern due to the recklessness and instability of the adoptive
14
              mother, Margaret Rose Lanam, and the lifelong psychological consequences from the
15
              childhood trauma the Native American children have previously and are currently
16
              sustaining as a direct result of the Defendants disregard to for the minors’ safety and
17

18            wellbeing and the Tribe.

19         4. The balance of hardships weighs decidedly in the Tribe’s favor, as our children have
20
              been taken from us unaware, stripped of their language and culture, subjected to
21
              inhumane treatment at the hands of the adoptive mother, her staff, nannies, and others.
22
              Furthermore, the sovereignty of the Tribe has been disregarded and the integrity of
23

24            native families and the stability within our community undermined.

25         5. The public interest strongly favors the issuance of a preliminary injunction in these
26
              circumstances, as Defendants continue to violate the rights of the minors to be
27
              protected from the abuser/adoptive mother, disregard their safety and wellbeing by
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             3
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 4 of 69 Page ID #:7



1               allowing unmonitored visits, violate the rights of the Natchez band of the Muscogee
2
                (Creek) Nation to intervene on behalf of our Native children, and the federal laws of
3
                ICWA, because it promotes the interest of justice.
4
                                        STATEMENT OF FACTS
5

6                    When minor, R.L. born 2011, was three months old, she was taken into custody

7    from the biological mother, Amanda Sue Turner, who was residing in a woman’s shelter in
8
     Riverside County. The minor was remanded into custody due to the instability of mother. The
9
     paternal family was notified that the minor was currently in custody and requested that the minor
10
     be placed in the home of the paternal grandmother. However, Riverside County DCFS declined
11

12   the request due to false information that the grandmother’s address was the biological father’s

13   place of residence. Furthermore, biological mother was unwilling to have the minor placed with
14
     paternal family, even though minor had resided with the paternal family regularly since birth.
15
                     Riverside Juvenile Court and DCFS were aware that the minors were of Native
16
     American descent. The biological great grandmother is an enrolled member of the Natchez
17

18   Nation and is eligible for enrollment in the Cherokee Tribe. Furthermore, the maternal aunt,

19   uncle and cousins are an enrolled members of the Morongo Tribe and were living on the
20
     reservation at the time the minor was detained by DCFS. The minors were placed with a foster
21
     parent, Margaret Rose Lanam, who falsely informed the Court that she was a relative- cousin,
22
     however, the paternal family notified the Court that the foster mother had perjured herself.
23

24   Nevertheless, Riverside County proceeded with the adoption, finding that the minors were not of

25   Native American descent. Ms. Lanam adopted R.L. and S.L., formerly I.E. and N.E. respectively,
26
     in late 2014.
27

28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             4
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 5 of 69 Page ID #:8



1                   No ICWA notice of placement nor adoption were ever sent to the maternal family,
2
     the Natchez Nation, nor the Muscogee (Creek) Nation. The maternal great grandmother is an
3
     enrolled member of the Natchez Nation and eligible for enrollment in the Cherokee Nation.
4
                    On or before minors, R.L. and S.L. were adopted out by Riverside Juvenile Court
5

6    despite having information from biological mother, Amanda Sue Turner, that the minors were of

7    Native American descent. Maternal grandmother, Susan Elizabeth Turner Williams, is a
8
     registered member of the Natchez Nation, a band of the Muscogee (Creek) Nation. Furthermore,
9
     the maternal aunt, Sally Turner, is an enrolled member of the Morongo Tribe and was living on
10
     the reservation at the time the minor was detained from biological mother.
11

12                  The Natchez Tribe first learned of the minors in May of 2021 when maternal

13   grandmother and enrolled member, Susan Williams, contacted the Tribal Chief on May 5, 2021,
14
     seeking Tribal intervention on behalf of her eligible Indian great grandchildren.
15
                    The Department of Children and family Services (hereafter DCFS) filed a petition
16
     requesting the juvenile court adjudge minors referred to as R. L. and S. L. to be within the
17

18   jurisdiction and to declare them dependent children. The petition alleged, inter alia, that R. L.

19   and S. L. are in danger of physical or sexual abuse and there are no reasonable means by which
20
     the children can be protected without temporary removal from the physical custody of the
21
     parents or guardians; and the children’s physical environment poses a threat to the children’s
22
     health and safety and there are no reasonable means by which the children can be protected
23

24   without temporary removal from the physical custody of the parents or guardians. The adoptive

25   mother, Margaret Rose Lanam, had the minors living in an Intermediate Care Facility
26
     Developmentally Disabled Habilitative Facility, also known as an ICF/DD-H, for adults. The
27
     ICF/DD-H is known as Chelsea Home Health Care located at 6122 South Victoria Avenue, Los
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             5
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 6 of 69 Page ID #:9



1    Angeles, CA 90043, is a facility licensed by the Department of Health and funded by the South-
2
     Central Los Angeles Regional Center (SCLARC). There are approximately seven clients in the
3
     facility, and they have a wide range of mental health disabilities ranging from schizophrenia to
4
     psychosis.
5

6                   On July 19th, 2021, the minors were found residing at adoptive mother’s place of

7    business- a nursing home facility for adults- and were detained by DCFS, per removal order by
8
     the Court. The Detention Hearing was held on July 26, 2021, and the Court impliedly sustained
9
     the petition, effectively finding true the allegations of serious physical harm against the minors
10
     by adoptive mother. It found by clear and convincing evidence that, in the physical custody of
11

12   Margaret Rose Lanam, R. L. and S. L. faced substantial dangers to their physical health that

13   could not be avoided by any reasonable means short of removal. Commissioner Padilla ordered
14
     the Tribe to make an oral motion to intervene and file proof of tribal recognition in the state of
15
     Oklahoma and file moving papers showing the legal basis for jurisdiction with attached points
16
     and authorities. On August 6, 2021, the Tribe submitted a Motion to Intervene, which included
17

18   and affidavit from the Muscogee National Council (the equivalence of the US Supreme Court)

19   acknowledging the Natchez Nation as a band of the Muscogee (Creek) Tribe. See Exhibit 1:
20
     Affidavit of Muscogee National Council.
21
                    DCFS’s appointed Deputy County Counsel, Joseph Robert Escobosa, requested
22
     more time to review the “lengthy document.” The hearing on August 10, 2021, was continued to
23

24   September 1, 2021, and the Court allowed the Natchez Tribe to participate in further proceedings

25   pursuant to Welfare and Institutions Code Section 306.6. Furthermore, the Court retained
26
     jurisdiction and ordered all discovery be circulated by October 18, 2021- the Trial Setting
27
     Conference, hereafter TSC. The TSC was continued to November 18, 2021. However, DCFS
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             6
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 7 of 69 Page ID #:10



1    refused to circulate any discovery, despite multiple requests from the Tribe. All attempts (of the
2
     Tribe and Tribal representatives) to speak with the appointed Counsels for the minors were
3
     rejected by the minors’ counsels (Heather Ann Starman and Ashley Hytlon), as well as Deputy
4
     County Counsel Joseph Robert Escobosa. During the TSC hearing on November 18, 2021,
5

6    Attorney for Margaret Lanam, Shirley Kenninger, requested unmonitored visits between the

7    minors and abuser/adoptive mother: Deputy County Counsel, Joseph Robert Escobosa, agreed,
8
     as did both attorneys for the minors. However, it was soon discovered that Ashley Hylton,
9
     Counsel for the R.L., never spoke to minor and therefore perjured herself in Court when she
10
     stated that she’d spoken with the minor and that the minor wanted unsupervised visits with the
11

12   abuser/adoptive mother. The Tribal attorney, Richard Green, objected to the unsupervised visits

13   between the minors and the abuser/adoptive mother. Deputy County Counsel, Joseph Robert
14
     Escobosa, also requested a Mediation Setting Conference for the abuser/adopted mother on
15
     December 2, 2021. The Tribe was never notified of the hearing. Ashley Hylton was subsequently
16
     removed and Yvonne Massais- Joby replaced her as appointed Counsel for R.L.
17

18                  In anticipation of one of the juvenile Court orders, DCFS placed the minors with a

19   suitable foster family. However, throughout the course of the hearings, adoptive mother,
20
     repeatedly harassed the foster families and associated social workers, causing the children to be
21
     removed and placed in 5 different homes over the course of 4 months. Furthermore, minors’
22
     initial appointed counsel, David Malleis Barton, requested copies of the videos, audios and text
23

24   messages detailing the horrific abuse the minors have sustained during multiple hearings.

25   However, Deputy County Counsel, Joseph Robert Escobosa, refused to send the evidence to
26
     Attorney Malleis.
27

28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             7
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 8 of 69 Page ID #:11



1       II.     ARGUMENT
2
                    The Indian Child Welfare Act (ICWA) of 1978 is a federal law that regulates the
3
     removal and out-of-home placement of American Indian children. The Act establishes minimum
4
     federal standards that must be met in any legal proceeding to place an Indian child in a foster or
5

6    adoptive home, and it ensures that Indian tribes and families are allowed to participate in such

7    Indian child welfare cases. See 25 U.S.C. § 1901 et seq. Congress enacted ICWA after finding
8
     “that an alarmingly high percentage of Indian families are broken up by the removal, often
9
     unwarranted, of their children from them by nontribal public and private agencies and that an
10
     alarmingly high percentage of such children are placed in non-Indian foster and adoptive homes
11

12   and institutions”; “that the States, exercising their recognized jurisdiction over Indian child

13   custody proceedings through administrative and judicial bodies, have often failed to recognize
14
     the essential tribal relations of Indian people and the cultural and social standards prevailing in
15
     Indian communities and families”; and “that there is no resource that is more vital to the
16
     continued existence and integrity of Indian tribes than their children and that the United States
17

18   has a direct interest, as trustee, in protecting Indian children who are members of or are eligible

19   for membership in an Indian tribe.”
20
                    The Tribe never received any Notices on the minors regarding removal,
21
     placement, termination of parental rights, nor adoption between 2012 and 2014 from neither
22
     Riverside Juvenile Court and Riverside County DCFS, nor any of their representatives. Indian
23

24   tribes have an interest in the child, which is distinct from, but on a parity with the interest of the

25   parents. Miss. Band of Choctaw Indians v. Holyfield, 490 U.S. 30, 52 (1989) (quoting from In re
26
     Halloway, 732 P.2d 962, 969-70 (Utah 1986)). Notice to the tribe also gives the tribe the
27
     opportunity to ensure compliance with the placement preferences of 1915. Cf. In re Baby Boy C.,
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             8
      Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 9 of 69 Page ID #:12



1    805 N.Y.S.2d 313 (App. Div. 2005). The Act requires notice of the pending proceedings and the
2
     right of intervention of the parents, Indian custodian, and the Indian childs tribe. 25 U.S.C.
3
     1912(a). The Guidelines specify what information should be included in the notice. Indian Child
4
     Custody Proceedings, 44 Fed. Reg. 67,584, 67,588 (Bureau of Indian Affairs Nov. 26, 1979)
5

6    (guidelines for state courts). Notice to one tribe does not protect the interests of a tribe not given

7    notice, so all tribes in which the minor may be eligible for enrollment must be notified. In re
8
     Desiree F., 99 Cal. Rptr. 2d 688 (Ct. App. 2000). Indian tribes and extended family members
9
     have substantial rights under the ICWA. The lack of notice to the Tribe prevented the Tribe from
10
     identifying whether there are good tribal or family placements available for the children.
11

12                  The State violated notice requirement of Indian Child Welfare Act by making no

13   attempt to send notice of parental rights termination hearing to Tribe by registered mail, despite
14
     knowledge that the minors were of Native American descent. Indian Child Welfare Act of 1978,
15
     § 102, 25 U.S.C.A. § 1912. Also, the Juvenile Court erred in their finding that the Natchez
16
     minors were not Indian. In any child custody proceeding listed in rule 5.480, the court may not
17

18   order placement of an Indian child unless it finds by clear and convincing evidence that

19   continued custody with the parent or Indian custodian is likely to cause the Indian child serious
20
     emotional or physical damage and it considers evidence regarding prevailing social and cultural
21
     standards of the child's tribe, including that tribe's family organization and child-rearing practices.
22
     The Tribe was denied due process of law because the Juvenile Courts and Riverside County
23

24   DCFS failed to perform active efforts, even though DCFS and the lower Court were aware that

25   the minors were of Native American descent.
26
                    The Tribe’s eligible Native American children have suffered irreparable damages
27
     due to the lower Court err in judgement in placing the minors with Margaret Lanam. The minors
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             9
     Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 10 of 69 Page ID #:13



1    have been physically, verbally, and emotionally abused by the adoptive mother, Margaret Rose
2
     Lanam, her daughter, Regine Lanam Patterson, her grandson, A.P., her nursing home staff,
3
     nannies, a nanny’s spouse. The minors were forced to live in an Intermediate Care Facility for
4
     the Developmentally Disabled Habilitative (hereafter ICF/DD-H), which is a facility for mentally
5

6    disabled adults (located in Los Angeles), funded by the South-Central Los Angeles Regional

7    Center and overseen by the Department of Public Health. The minors reported being forced to
8
     sleep with the clients in the facility as punishment. In one video R.L. stated that the client
9
     urinated on her while they “were sleeping in the bed” together. The minors also reported being
10
     beaten with hangers, belts, brushes combs, being choked, thrown into walls, hit in the head with
11

12   a variety of objects including iPads, wooden spoons, and spatulas, stabbed with pencils, hit with

13   rulers, slapped in the face, forced to sleep with the nanny’s husband and drugged for financial
14
     gain. The children sent following text messages:
15
     S.L. “Mommy’s about to kill me.”
16
     S.L. “Aunt mom sending me away. Pls she sending me to adoption center.”
17

18   S.L. “Aunty mommy is sending me to a mental hospital.”

19   R.L.: “I dont wanna leave.
20
     Respondent: You don’t want to leave where?
21
     R.L. She just yelled, “I’M GONNA MURDER YOU BOTH.”
22
     R.L. TO HEAVEN
23

24   R.L. “pick me up and never let me see my mom again and call the police please.

25   The nursing home staff have been investigated on multiple occasions due to claims of child
26
     abuse.
27

28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             10
     Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 11 of 69 Page ID #:14



1    S.L. reported having to sleep with the nanny’s husband and informed the recorder that she slept
2
     with him and “he had his shirt off and rubbed his boom booms on me.”
3
     Furthermore, Ms. Lanam should never have been allowed to adopt the minors in the first place.
4
     The adoptive mother was arrested in 1994 for assaulting her biological daughter, Regine Lanam
5

6    Patterson, in front of a police officer.

7                    The Tribe’s Native American children have spent the entirety of their lives being
8
     manipulated, abused, neglected, and assaulted by the adoptive mother and her cohorts.
9
     Furthermore, Ms. Lanam falsified documents submitted during the initial adoption and informed
10
     the Juvenile Court that she is a paternal cousin. The family has notified the current Court that not
11

12   only is Ms. Lanam not a cousin, but she also continues to purport the lie.

13           Commissioner Padilla’s decision to provide unmonitored visits was based on perjurious
14
     information provided to the Court by Ashley Hylton, Attorney for R.L. Ashley Hylton, at the
15
     time of the November 18, 2021, Court hearing; had never seen nor spoken to the minor, however,
16
     she falsely informed the Court that she had indeed conversed with R.L. and it was R.L.’s desire
17

18   to “have unsupervised visits” with the abuser/adoptive mother. When this information was

19   brought to the attention of the Children’s Law Center, Ms. Hylton was immediately removed
20
     from the case and replaced by Yvonne Massais- Joby. This was not only a matter of
21
     misrepresenting facts within a Court law, but a violation of the trust the minor placed in her
22
     attorney to protect her interest, as opposed to that of DCFS and the abuser/adoptive mother. It
23

24   was also a violation of the minors’ wellbeing and safety to place them back in the hands of an

25   individual with a history of child abuse.
26
             The Natchez Tribe is a band of the Muscogee (Creek) Tribe, and the juvenile Court
27
     violated the Tribe’s treaty rights which upholds the juvenile codes pertaining to the Native
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             11
     Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 12 of 69 Page ID #:15



1    American children. The legal constitutional rights of the children have also been violated by
2
     DCFS’s and the minors’ respective attorneys attempts to circumvent the Tribe and treaties of the
3
     sovereign nation, the laws of the Muscogee (Creek) Nation, and the federal Laws of ICWA. In
4
     doing so, the safety and wellbeing of our children is being jeopardized by DCFS and the State of
5

6    California by their wanton and reckless disregard of the eligible Native American minor’s safety,

7    security, and wellbeing of the minors. Therefore, the lower Court lacks jurisdiction to hear this
8
     case because it concerns a sovereign nation and federal entity equal to and with the United of
9
     America. The Constitution recognizes the existence of Indian tribes and, in many respects, treats
10
     them as sovereigns in the same manner as the states and foreign nations. See U.S. CONST. art. I,
11

12   § 8, cl. 3 (empowering Congress “[t]o regulate Commerce with foreign Nations, and among the

13   several States, and with the Indian Tribes”); Holden v. Joy, 84 U.S. 211, 242 (1872)
14
            Indian tribes possess “inherent powers of a limited sovereignty that has never been
15
     extinguished.” Id. Because of tribes’ retained sovereignty, they have a government-to-
16
     government relationship with the United States. Id. Second, the federal government has
17

18   expansive and exclusive powers in Indian affairs, and, relatedly, an ongoing obligation to use

19   those powers to promote the wellbeing of the tribes in what is commonly referred to as a trust
20
     relationship. Id. Third, as a corollary to the federal government’s broad power in Indian affairs,
21
     the supremacy of federal law, and the need for the nation to speak with one voice in its
22
     government-to-government relations, state authority in this field is very limited. Id.
23

24          Adoptive mother, Margaret Rose Lanam, is incapable of caring for the minors and

25   inflicted serious bodily injury and harm to both minors; and the grotesque abuse has continued
26
     for years. Minors were subjected to live in a nursing home with mentally disabled adults, an
27
     environment which is neither safe for the wellbeing of the children nor the clients within the
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             12
     Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 13 of 69 Page ID #:16



1    business entity. On July 19, 2021, a Los Angeles Superior Court Judge ordered that the children
2
     be removed and transferred to foster care. In August 2021, the Tribe, became aware of the
3
     current court proceedings. Since that time, the Tribe has been present and active at all hearings it
4
     received notice for. It is evident that the continuance of unmonitored visits with the abuser is
5

6    contrary to the childrens welfare. More importantly, the Tribe, DCFS, the family and even these

7    young Native children have yet to comprehend the lifelong trauma that these children will
8
     experience as a results of a flawed justice system.
9
        III.      CONCLUSION
10
                      For the foregoing reasons, The Tribe respectfully request that this Court enter a
11

12   preliminary injunction to bar Defendants from further allowing unmonitored visits between the

13   Native American minors and the abusive adoptive mother, Margaret Rose Lanam, and
14
     preventing further emotional and mental trauma on the minors, until such a time as this matter
15
     can be tried. The eligible Native American minors were removed on July 19, 2021, from
16
     adoptive mother, Margaret Rose Lanam. The Tribe previously believed that the lower Court and
17

18   DCFS would issue rulings in the interest of the safety and wellbeing of the Native American

19   minors and the Tribe.
20
               However, the Tribe has been repeatedly denied due process of law, our children, R.L. and
21
     S.L. have failed to receive adequate protection from their appointed counsels, DCFS, and lower
22
     Court, and the children’s safety and wellbeing was not considered when the Court decided to
23

24   allow liberalized visits with the abuser/adoptive mother. The Juvenile Court infringed on the

25   sovereign right of the Natchez Nation. The Tribe retains the best interests of our children existing
26
     and DCFS has failed to adequately protect the children’s best interests. More importantly, the
27
     children have been severely abused and suffered childhood trauma and exposure to violence
28   MOTION FOR PRELIMINARY INJUNCTION; POINTS AND AUTHORITIES; DATE:TIME:COURTROOM: -
                                             13
     Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 14 of 69 Page ID #:17



1    mentally, emotionally, and physically. The Natchez Nation has been denied due process of law.
2
     The adjudication hearing is set for Wednesday, February 9, 2022, in Edmund Edelman
3
     Courthouse and the Tribe prays this Court makes a ruling as soon as possible.
4
                   Dated this 10th of January 2022.
5

6

7                                                     Kent T. Hutke Fields, MSW
                                                      Petition, In Pro Per
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     Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 15 of 69 Page ID #:18



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Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 16 of 69 Page ID #:19
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 17 of 69 Page ID #:20
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 18 of 69 Page ID #:21
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 19 of 69 Page ID #:22
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 20 of 69 Page ID #:23
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 21 of 69 Page ID #:24
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 22 of 69 Page ID #:25
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 23 of 69 Page ID #:26
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 24 of 69 Page ID #:27
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 25 of 69 Page ID #:28
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 26 of 69 Page ID #:29
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 27 of 69 Page ID #:30
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 28 of 69 Page ID #:31
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 29 of 69 Page ID #:32
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 30 of 69 Page ID #:33
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 31 of 69 Page ID #:34
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 32 of 69 Page ID #:35
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 33 of 69 Page ID #:36
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 34 of 69 Page ID #:37
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 35 of 69 Page ID #:38
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 36 of 69 Page ID #:39
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 37 of 69 Page ID #:40
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 38 of 69 Page ID #:41
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 39 of 69 Page ID #:42
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 40 of 69 Page ID #:43
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 41 of 69 Page ID #:44
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 42 of 69 Page ID #:45
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 43 of 69 Page ID #:46
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 44 of 69 Page ID #:47
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 45 of 69 Page ID #:48
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 46 of 69 Page ID #:49
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 47 of 69 Page ID #:50
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 48 of 69 Page ID #:51
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 49 of 69 Page ID #:52
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 50 of 69 Page ID #:53
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 51 of 69 Page ID #:54
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 52 of 69 Page ID #:55
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 53 of 69 Page ID #:56
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 54 of 69 Page ID #:57
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 55 of 69 Page ID #:58
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 56 of 69 Page ID #:59
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 57 of 69 Page ID #:60
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 58 of 69 Page ID #:61
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 59 of 69 Page ID #:62
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 60 of 69 Page ID #:63
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 61 of 69 Page ID #:64
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 62 of 69 Page ID #:65
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 63 of 69 Page ID #:66
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 64 of 69 Page ID #:67
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 65 of 69 Page ID #:68
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 66 of 69 Page ID #:69
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 67 of 69 Page ID #:70
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 68 of 69 Page ID #:71
Case 2:22-cv-00396-UA Document 1-1 Filed 01/18/22 Page 69 of 69 Page ID #:72
